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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

RALPH COLEMAN,
Plaintiffs,
vs.
ARNOLD SCHWARZENEGGER, et al.,

Defendants

No.: Civ S 90-0520 LKK-JFM

PLAINTIFFS’ OBJECTIONS TO
DEFENDANTS’ JUNE 15, 2006
REVISED INTERIM BED PLAN

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PLAINTIFFS’ OBJECTIONS TO DEFENDANTS’ JUNE 15, 2006 REVISED INTERIM BED PLAN: CIV S 90-0520 LKK-JFM

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INTRODUCTION

On June 15, 2006, in response to this Court’s May 2, 2006 Order, defendants provided

the Special Master and plaintiffs with their Interim Intermediate Care Facility and Mental

Health Crisis Bed Plan, June 2006 (“New Interim Bed Plan”).' Defendants’ New Interim Bed

Plan contains three principal improvements over earlier plans:

For the first time, the plan includes a commitment to build 50 new Mental Health
Crisis Beds (“MHCBs”) at California Men’s Colony (“CMC”), although no time-
frame for the project is given (and the beds will not be available for at least
several years);

The plan includes a commitment to open, by June 30, 2007, a new 30-bed ICF
unit in the P-3 wing at the California Medical Facility (CMF), which will nearly
double the number of Level IV intermediate inpatient care (ICF) beds at CMF;
The plan includes a commitment to expedite construction of an additional 40
Level IV ICF beds in the D-5 and D-6 wings at Salinas Valley State Prison
(SVSP) (in addition to the initial 36-bed unit and the second 36-bed ICF unit
ordered by this Court in its May 2, 2006 Order), so that SVSP will have a total of
112 new ICF beds open by mid-2007.

These are welcome new projects and defendants should be ordered to proceed with them.

Despite these improvements, however, defendants’ New Interim Bed Plan fails to

address the current and immediate shortage of MHCB and ICF beds identified in defendants’

own projections. Particularly in the area of MHCB beds, the new plan mostly just shuffles

around existing resources, rather than securing the new crisis beds that are desperately needed

by inmates who are suicidal or experiencing other mental health crises. Several of the other

' Although the Court’s May 2, 2006 Order specifically required that defendants “file”
their revised interim bed plan within 45 days of the Court’s order, defendants did not file a
copy with the Court. See 5/2/06 Order at | 4. Plaintiffs have included a copy of defendants’
June 15, 2006 New Interim Bed Plan with the Declaration of Jane Kahn filed herewith. See
Kahn Dec. Ex. A.

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initiatives in the new plan will require considerable management time and energy, but are
unlikely to yield substantial improvements in the ability of class members to access higher
levels of mental health care in a timely manner. There are five major problems with the plan:

First, the plan does not create sufficient MHCBs to remedy the current 75 MHCB bed
shortage identified by CDCR Health Care Director Farber-Szekrenyi in testimony to this
Court. See Declaration of Jane Kahn in Support of Plaintiffs’ Objections to Defendants’ June
15, 2006 Bed Plan (“Kahn Dec.”), Ex. B at 74:24-25. Defendants contend that their New
Interim Bed Plan will result in an additional 83 MHCB beds. Kahn Dec. Ex. A (New Interim
Bed Plan) at 2. In fact, however, the only MHCB beds that are net additions in the New
Interim Bed Plan are the 42 MHCB beds at CMC that this Court recently ordered. 5/2/06
Order, { 13. It remains to be seen when and whether this CMC unit should be fairly counted as
an MHCB rather than an Outpatient Housing Unit (“OHU”), given that it was opened without
appropriate clinical staffing. Defendants must be ordered to create at least another 33 MHCB
beds to meet the shortfall they concede exists. See Argument I.B., infra. Defendants also fail
to address ongoing delays in staffing and licensing previously “counted” MHCB beds such as
those at CIW, KVSP and SAC, which apparently will not be available in the time-frame
previously represented by defendants (and ordered by this Court, in the case of SAC and
KVSP).

Second, the MHCB shortfall that defendants concede exists is not, in fact, the entire
shortfall. Defendants’ estimated shortfall of 75 MHCB beds does not account for the current
widespread use of MHCB beds for long-term care medical patients, nor does it account for the
cases not referred to MHCB care because clinicians know these programs are full. Recent
reports from the field indicate that this situation has worsened in recent months. At just three
institutions recently visited, the monitors reported that 19 of the CDCR’s 164 current MHCB
beds — more than 10 percent of the available MHCB beds system-wide — are presently being
used for long-term care medical patients. In coordination with the Plata court, this Court

should order defendants to move these long-term care medical patients to a different setting,

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such as a community hospital or a skilled nursing facility, within the next 60 days, in order to
make room for mental health patients in crisis. See Argument I.A., infra.

The fact is that defendants are unable to provide this Court with a reliable count of the
actual number of MHCB beds that are staffed, licensed, available and operating, nor can
defendants competently predict when additional MHCB beds will be constructed, licensed,
staffed and ready for operation. The Court, together with the Special Master (and the Receiver,
if necessary), must require defendants to remedy this management deficiency.

Third, the ICF portion of defendants’ new plan, taken together with the additional short-
term ICF resources required by the Court’s May 2, 2006 Order, means that defendants will
build a total of 142 additional Level IV ICF beds at CMF and SVSP by mid-2007. However,
once these new beds are finished, a gap of at least 140 Level IV ICF beds will remain between
mid-2007 and the opening of the new permanent 64-bed SVSP ICF unit in March of 2009. See
Kahn Dec. Ex. G (Enclosure II to Defendants’ April 17, 2006 Bed Plan) (projecting a shortage
of 285 Level IV ICF beds in Fiscal Year 2007/2008). Defendants must be ordered to fully
address this gap. See Argument II, infra.

Fourth, the bed expansions in the New Interim Bed Plan come at the expense of other
medical and mental health programs currently experiencing severe shortages:

° In order to open the new 30-bed ICF program at CMF in the P-3 wing,
defendants will permanently close the 67-bed EOP program in the CMF’s M-3
wing. Kahn Dec. Ex. A (New Interim Bed Plan) at 15 (“This plan, once fully
implemented, adds 30 ICF beds at the expense of 67 general population EOP
beds at CMF.”) As this Court is well aware, there is currently a shortage of more
than 1,000 EOP beds system-wide. See Kahn Dec. Ex. G (defendants’ “Closing
the Gap” Spreadsheet showing Fiscal Year 2007/2008 shortfall of 1098 EOP
beds even with all currently planned EOP expansions). The Court rejected
defendants’ inadequate plan for EOP beds in the May 2, 2006 Order, yet
defendants have failed to address this critical issue in the interim plan and, in

fact, have made the problem worse by sacrificing EOP beds for ICF beds.

3.

PLAINTIFFS’ OBJECTIONS TO DEFENDANTS’ JUNE 15, 2006 REVISED INTERIM BED PLAN, NO.: CIV S 90-0520 LKK-JFM

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e The plan to open 25 MHCB beds at CMF will come at the expense of scarce APP
beds at CMF. Defendants admit that this is not an addition of new beds but
rather an effort to increase utilization of the problem unit at ASH. Kahn Dec. Ex.
A (New Interim Bed Plan) at 4 (“The plan as proposed is a method to increase
the utilization of beds currently available in the system.”). Defendants’ plan is to
move the 25-bed MHCB unit currently operating at ASH to CMF, and to move
25 low-custody CMF APP patients to ASH. This shuffling of resources and
acutely ill patients will not create a single additional bed, and may result in a
further shortage of APP beds, given the longstanding resistance of ASH staff to
accepting CDCR inmates. Remarkably, this new procedure envisions that DMH
APP staff at CMF will have to fill out a complete new application package,

which ASH clinicians may well decide to reject, in order to transfer this handful

of low custody APP patients to another DMH program! This is not a solution to
the acknowledged problem, which is the unwarranted resistance and bureaucratic
roadblocks created by ASH to accepting CDCR inmates as patients. Nine pages
of defendants’ plan is devoted to this misguided effort to shuffle beds and
patients between two DMH programs. The Court can solve this problem more
directly by ordering that DMH allow CDCR clinicians to control admission to
the ASH MHCB, or by directly confronting DMH and forcing a change in its
admission procedures.

e In their plan to expand MHCB capacity at CIM, defendants do not create any

new beds but merely formalize the current practice of using 18 General Acute

Care Hospital (“GACH”) beds as de-facto MHCB beds. The plan does not
address dangerous staffing deficiencies there. Defendants’ CIM plan is to
“license” another 18 of the GACH beds there as MHCB beds (in addition to the
18 already so licensed), without adding the necessary clinical resources.
Defendants concede that the GACH unit at CIM is already housing 36 MHCB

patients at any given time, so there will be no actual net increase of MHCB

4.

PLAINTIFFS’ OBJECTIONS TO DEFENDANTS’ JUNE 15, 2006 REVISED INTERIM BED PLAN, NO.: CIV S 90-0520 LKK-JFM

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resources. See Defendants’ New Interim Bed Plan at 13 (“The average daily

census [of MHCB patients in the GACH at CIM] has been 36 for the last 4-5

months.”’).
These kinds of trade-offs are unacceptable. Defendants are robbing Peter to pay Paul.
Defendants must expand the number of available ICF beds, EOP beds, APP beds, MHCB beds
and long-term care medical beds. Plaintiffs are not aware of any reason, and defendants
provide no reason, why they cannot use a general population unit at CMF when they re-locate
the EOP administrative segregation unit currently on P-3, or why the expansion of MHCB beds
must come at the expense of existing APP beds at CMF, or why defendants cannot expand the
CIM MHCB component of the GACH in a manner that actually creates new MHCB spaces.
This is exactly what the Court warned against in the June 8, 2006 joint hearing — defendants
are using Coleman resources to solve a Plata problem and Plata resources to solve a Coleman
problem. They must not be permitted to continue to do so.

Fifth, the Court should not accept defendants’ apparent strategy to magically create
MHCB and ICF beds out of thin air, without meeting the relevant California licensing and
safety standards, by seeking broad open-ended waivers from the Court. The Court should not
take the extraordinary step of intervening in the State’s internal licensing process unless
defendants can demonstrate that the Department of Health Services (“DHS”) has been
unreasonable. The Court previously ordered defendants to submit a specific list of licensing,
staffing and statutory barriers that they are asking the Court to waive in connection with the
plan. 5/2/06 Order at § 4 (“Defendants shall include with said interim plan, as appropriate, a
list of any statutory, licensing, or staffing barriers to implementation of any aspect of said
plan.”) Defendants have not done so. See, e.g., Kahn Dec. Ex. A (New Interim Plan) at 12
(no discussion of CMC waivers sought), 14 (request for general suspension of state licensing
requirements in connection with CIM project, but no discussion of specific licensing
provisions or explanation of why the relevant provisions cannot be met), 20 (no discussion of
licensing waivers or issues in connection with SVSP ICF expansion plan). The Court must

require that defendants submit a detailed list of the specific waivers they are seeking with

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PLAINTIFFS’ OBJECTIONS TO DEFENDANTS’ JUNE 15, 2006 REVISED INTERIM BED PLAN, NO.: CIV S 90-0520 LKK-JFM

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respect to each project, along with a justification for each specific waiver and a plan for
alternative compliance and/or future compliance. In its May 2, 2006 Order, this Court wisely
noted that state licensing requirements “serve an important function” and noted that they may
need to “temporarily” give way to make room for measures necessary to cure the Eighth
Amendment violation in this case. 5/2/06 Order at 3:14-4:3. The Court must ensure that
defendants do not endanger patient safety in implementing the new temporary MHCB
solutions, and must require defendants to justify each individual waiver of a state licensing
requirement. Moreover, the Court must ensure that defendants address any safety and staffing

issues in implementing these plans as soon as possible.

STATEMENT OF FACTS

The June 15, 2006 New Interim Bed Plan is defendants’ fourth bed plan since last
Spring. Previous plans were submitted to the Special Master and/or the Court on March 30,
2005, August 15, 2005, and April 17, 2006. During this past year, as defendants struggled to
develop an adequate plan, the situation for mentally ill inmates inside the defendants’ prisons
has grown more dangerous and desperate. The CDCR is currently experiencing a severe
overcrowding and understaffing crisis. As of midnight on June 14, 2006, the total population
of the CDCR was 171,527, up 8,061 inmates since a year earlier. Kahn Dec. 17, Ex. F.
According to the Governor, the prison system is in crisis and is inappropriately housing more
than 16,000 inmates in gyms, dayrooms, and other areas that were never intended for use as
housing. Jd. Defendants’ suicide rate continues to be more than double the national average,
with extremely high rates in the CDCR’s crowded administrative segregation units. Kahn Dec.
{| 16. In the first six months of this year, there have been 25 suicides in the CDCR, which can
be annualized to a rate of 50 suicides per year -- a rate that, if it continues for the second half of
this year, would result in an even higher rate than in 2005, when there were 41 suicides, the
highest number of CDCR suicides ever. Jd. In this environment, planning for acute inpatient
care for suicidal inmates and inmates in need of longer-term inpatient stabilization is a critical

life-saving endeavor. See Special Master’s 2004 Suicide Report at 6 (“During the year, a

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significant number of inmates who were referred or should have been referred to higher levels
of care, including DMH, were not considered for referral, were not referred, had their referral
cancelled or were awaiting transfer pursuant to a referral when they died.”).
ARGUMENT

I. DEFENDANTS’ NEW INTERIM BED PLAN FAILS TO ADDRESS THE USE

OF EXISTING MHCB BEDS BY LONG-TERM CARE PATIENTS AND DOES

NOT ELIMINATE THE 75-BED MHCB SHORTAGE

A. The Plan Does Not Address The Use Of MHCB Beds For Long-Term Care

Medical Patients

Defendants have experienced a severe and dangerous shortage of MHCB beds for
several years. This ongoing shortage makes it impossible to transfer critically mentally ill
inmates to crisis beds because all of the available beds are full. Every month during the last
year, a routine document production in this case has shown that between two and three hundred
inmates who were referred to an MHCB during the month could not be placed. For example,
in April 2006, 291 inmates were referred to a MHCB at another institution, but only 27 of them
were placed. Kahn Dec. { 14, Ex. D. In other words, 91 percent of the inmates referred to an
MHCB could not be placed.’ The Court’s May 2, 2006 Order found that defendants’ April 17,
2006 Bed Plan did not adequately address this problem in the near-term. Defendants’ New
Interim Bed Plan still falls short.

During the hearings on defendants’ April 17, 2006 Bed Plan that were held on April 26
and 27, 2006, Dr. Farber-Szekreyni conceded that there is a current shortfall of 75 MHCBs.
Kahn Dec. § 3, Ex. B at 74:24-25. He also testified that MHCB and Correctional Treatment

Center (CTC) beds’ are frequently occupied by long-term care medical patients and promised
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? This monthly report understates the true extent of the unmet demand for MHCB beds for two reasons:
First, it does not include unplaced internal MHCB referrals. Second, it does not account for inmates who were
not referred by discouraged clinicians who know that the MHCB units are full.

> There are two types of Correctional Treatment Center or “CTC” beds. Mental Health Crisis Beds are
CTC beds for mental health patients. The remaining CTC beds are reserved for medical patients. In most CTCs
in the CDCR, a certain number of beds are staffed and licensed as mental health beds, although some beds in the
past have also been designated as “swing” beds that can be used either for mental health or for medical patients.
The beds discussed here as MHCB beds are staffed and licensed as MHCB beds and are not “swing beds.”

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that a new interim plan was being developed to address this issue. Kahn Dec. 4 4, Ex. B at
20:10-13. When he was asked whether defendants had contracted with any community
hospitals to take these patients, Dr. Farber-Szekrenyi responded that: “We have several
hospitals that we have had active dialogue with, and we’re in the process of contractually
working with them, yes.” Kahn Dec. { 4, Ex. B at 22:4-6. Although Dr. Farber-Szekrenyi
stated that there were no signed contracts yet, he indicated that “we have a pretty good
possibility of placing some patients shortly, yes.” Kahn Dec. § 4 and Ex. B at 22:11-12.

Following three recent Coleman monitoring tours, the experts reported on the use of
MHCB beds by long-term care patients. Kahn Dec. J 7, 8, 9. On May 5, 2006, the court
experts visited Lancaster State Prison and reported that seven of the 12 crisis beds there were
occupied by long-term care medical patients. Kahn Dec. § 7. On June 2, 2006, the court
experts visited Wasco State Prison and reported that six of the 16 crisis beds there were
occupied by inmates requiring long-term medical care. Kahn Dec. § 9. Lengths of stay for
these inmates ranged from 30 to 471 days. Id. Psychiatric patients who required crisis care
were housed in alternative locations, including five short-term areas without toilets and three
longer term areas with toilets. Jd. On June 6, 2006, the experts visited Salinas Valley State
Prison and reported that only five or six of the 12 crisis beds were available because the
remainder were occupied by long-term care medical patients. Kahn Dec. | 8. As a result of
the MHCB shortage at Salinas Valley State Prison, psychiatric patients needing crisis care
were placed in holding tanks on suicide precautions. Jd. Between January 1, 2006 and April
30, 2006, 143 SVSP patients were admitted to holding tanks for crisis care because mental
health crisis beds were unavailable. Jd. The lengths of stay in these holding tanks, which do
not have bathrooms and are not clinically staffed, ranged from one to seven days. Id. At these
three institutions alone, there were nineteen MHCB beds occupied by long-term care medical
patients. Kahn Dec. { 13. There are likely to be far more MHCB beds occupied system-wide
by long-term medical care patients. Jd.

Defendants are aware of this problem: one of defendants’ attorneys and several

representatives from CDCR central office staff have been present on each of the Coleman

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PLAINTIFFS’ OBJECTIONS TO DEFENDANTS’ JUNE 15, 2006 REVISED INTERIM BED PLAN, NO.: CIV S 90-0520 LKK-JFM

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monitoring tour preliminary phone exits discussed above. Kahn Dec. {ff 6-9. At the June 8
Hearing, plaintiffs’ counsel addressed this issue to the Court. On the same day, after the
hearing, during a meeting with Special Master Keating, plaintiffs’ counsel, defendants’ counsel
and representatives from CDCR and DMH, there was discussion regarding the forthcoming
New Interim Bed Plan and whether it would address the increasing use of MHCB beds to
house long-term care medical patients. Kahn Dec. § 5. Defendants stated that they were either
unaware of the problem or unable to respond to plaintiffs’ concerns. Id.

Indeed, the New Interim Bed Plan does not address in any way the use of current
MHCB beds by long-term care medical patients and thus overstates the current count of
MHCB beds available for the Coleman class. A footnote states that the plan “assumes that all
existing MHCBs, along with the additional MHCBs identified in this plan, will be designated
and used as MHCBs.” Kahn Dec. Ex. A at fn 1. This assumption is unwarranted, as
defendants are well aware -- given the testimony of Dr. Faber-Szekreyni and the information
presented in the Coleman monitoring exits. The reason the actual number of available MHCB
beds is unclear is because defendants have failed to accurately investigate and report on this
number. Kahn Dec. {4 and Ex. C. Defendants must be directed to provide the Court with an
accurate count of the long-term medical patients currently in MHCB beds. Defendants must
also be directed to provide the Court with a plan by July 15, 2006 for moving these patients out
of MHCB beds within 60 days. The Court should work with the Plata Receiver in order to
ensure that such a plan is appropriately and expeditiously developed and implemented.

B. The New Interim Bed Plan Fails To Close The 75-Bed MHCB Shortage

Defendants Have Admitted Currently Exists

Defendants’ New Interim Bed Plan does not provide the 75 new MHCB beds promised
by Dr. Farber-Szekreyni during his testimony on April 27, 2006. Kahn Dec. § 3 and Ex. B.
Only one of the three MHCB “expansion” proposals outlined in the Interim Plan — the 42 bed
unit at CMC — actually may create additional MHCB beds for use by CDCR patients (although
it is unclear that the CMC MHCB unit should be counted as an MHCB unit at this time). The
other two proposals do not and will not add any MHCB beds to the system: the 25 MHCB

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PLAINTIFFS’ OBJECTIONS TO DEFENDANTS’ JUNE 15, 2006 REVISED INTERIM BED PLAN, NO.: CIV S 90-0520 LKK-JFM

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beds proposed for DMH-Vacaville would take the space currently occupied by 25 extremely
valuable APP beds (which are traded for an equal number of ASH MHCB beds). Kahn Dec.
Ex. A (New Interim Bed Plan) at 4. The location of the MHCB unit has changed, but not the
number of beds. The MHCB unit inside the General Acute Care Hospital (“GACH”) at the
California Institute for Men (CIM), which is targeted for expansion by 16 beds, has been
operating with an overflow of at least 18 patients for the last four to five months. Jd. at 13.
Thus, the proposed expansion at CIM will not even cover the current overflow of mental health
patients filling medical beds in the hospital. Essentially, the CIM proposal does nothing more
than seek the Court’s blessing for an existing dangerous and inappropriate unit, without
including a plan to fix the dangerous conditions. Defendants’ plan for CIM does not include
staffing for the beds or a proposal to modify the beds to meet licensing standards for immediate
use. In fact, these beds may not even be available as touted since their use as MHCB beds is
contingent on approval from the Plata receiver.
1. The “New” 25-Bed MHCB Program At DMH-Vacaville

The New Interim Bed Plan proposes exchanging 25 MHCB beds at ASH for 25 APP
beds at DMH-Vacaville. The reason provided for this decision is that the 25 MHCB beds at
ASH have been under-utilized. Kahn Dec. Ex. A. (New Interim Bed Plan) at 3-11. In fact, 19
of the 25 MHCB beds at ASH are currently being used by CDCR patients — meaning that even
if it is successful, this elaborate and burdensome plan will only yield six additional beds. Id.
Rather than correcting the serious and ongoing problems with access to ASH, defendants
propose transferring 25 patients and acute beds* from the Acute Psychiatric Program at CMF to
ASH. 7d.

This is no solution at all, and the proposal should be abandoned. Instead of approving

an elaborate and largely meaningless swap of beds that endangers the CMF APP program, the

* The April 17, 2006 Bed Plan, Enclosure 2, identified an immediate current shortage of 141
acute beds.

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PLAINTIFFS’ OBJECTIONS TO DEFENDANTS’ JUNE 15, 2006 REVISED INTERIM BED PLAN, NO.: CIV S 90-0520 LKK-JFM

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Court should order that the ASH admission obstacles be overcome and remedied in one of
several ways. For example, the Court could order DMH and ASH to allow CDCR clinicians to
control admissions to the 25 ASH beds under contract to the CDCR for MHCB care, as has
been the case with the MHCB beds operated by DMH at CMF. See Fifteenth Monitoring
Report of the Special Master at 86.

There are many problems with this proposal. First, currently there is a severe shortage
of APP beds in the CDCR. Enclosure II to defendants’ April 17, 2006 Bed Plan is a chart
projecting demand for various categories of mental health beds into the future. Kahn Dec. Ex.
G. The chart is based on the final UNA study and the Tucker-Alan bed need calculation
method, and it states that there is a current APP bed shortage for fiscal year 2006-2007 of 141
beds, and a shortage next year of 205 APP beds. Kahn Dec. § 18 and Ex. G. After many
years, the referral process for the APP program at CMF has finally been smoothed out so that
this scarce resource is carefully allocated to the most needy mental health cases and access is
relatively timely. Jd. The new plan will interfere with the smooth functioning of the current
utilization management process and will probably reduce the number of available APP beds
system-wide. Id.

Second, the complex new admission process for the ASH APP beds set forth in the New

Interim Bed Plan is quite troubling. Kahn Dec. Ex. A at 3-11. The proposal is that DMH
clinicians in the CMF APP program will select 25 low custody CDCR inmates already in the
APP program and send them to ASH. Jd. However, ASH will not simply accept the referrals
from their DMH colleagues. Instead, the CMF APP clinicians (who work for DMH) will have
to fill out a complete referral package for each case, and ASH clinicians will review them and
reject the cases they do not want. Jd. at 6. This two-layer screening is inappropriate. The time
has come to finally address this problem with a court order directing ASH to accept all MHCB
cases directly, with no burdensome application process and no right to refuse a patient. If a
patient is inappropriately sent, ASH can evaluate them and then return them to the CDCR. In

addition, the plan will shut down or limit admissions to ASH from two major programs—-CIM

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PLAINTIFFS’ OBJECTIONS TO DEFENDANTS’ JUNE 15, 2006 REVISED INTERIM BED PLAN, NO.: CIV S 90-0520 LKK-JFM

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and CMC—-without making any provision for addressing the needs of those prisons in the
interim. Kahn Dec. Ex. A (New Interim Bed Plan) at 5.

Third, the plan is too burdensome. It requires a new MOU, new training, staggered
transfers of fragile patients in the middle of their treatment programs, and it will require a
whole new round of policing the overly restrictive ASH admissions procedures. Moreover, in
order to operate the new MHCB unit at DMH Vacaville, DMH will have to recruit new staff
members. Kahn Dec. Ex. A at 5. This will be particularly difficult, given that DMH is already
in the process of recruiting for the new ICF programs there. By way of contrast, the ASH
crisis bed program is fully staffed and functioning. Jd.

Plaintiffs ask that the Court reject this aspect of the New Interim Bed Plan, and instead
issue an order that requires ASH to allow CDCR clinicians to freely admit crisis patients into
the 25-bed MHCB unit at ASH.

2. The CMC MHCB Bed Proposal Is A Welcome Expansion Of
MHCEBs, But Defendants Must Fully Staff The Unit And Identify The
Specific Licensing Barriers They Wish The Court To Waive

The Court ordered defendants to immediately reopen the Locked Observation Unit
(“LOU”) at CMC and to use it to provide 36 MHCB beds until further order of the court.°
5/2/06 Order § 13. Plaintiffs welcome defendants’ long-term plan to construct a 50-bed
MCHB unit at CMC. However, with respect to the Interim Plan, defendants have not
adequately identified the staffing, licensing and other barriers to successfully implementing the
new MHCB program in the LOU. The defendants must provide more specific details
regarding this proposed project in the amended long-term plan to be filed in the near future.

5/2/06 Order { 1. For instance, has this project been approved by the CDCR, the Department

> Defendants’ New Interim Bed Plan provides that CDCR will operate the MHCB beds
at CMC until further order of the Coleman Court “or sufficient MHCB beds are available
statewide to meet the needs of the mental health patient population.” Kahn Dec. Ex. A at 12.
This statement is contrary to the Court order, which provides that defendants may not close the
unit without the Court’s permission.. 5/2/06 Order at ¥ 13.

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of Finance or the Governor’s Office? Has it been proposed to the Legislature? When will it
open?

The Court’s May 2, 2006 Order requires defendants to identify a list of barriers to
opening the CMC facility and to develop a plan to eventually correct or mitigate the licensing
problems. See 5/2/06 Order at § 3 (“Defendants shall include with the amended long-term plan
a list of those projects that can be accelerated as well as a list of any statutory, licensing, or
staffing barriers to such acceleration and/or to timely opening of the projects described in the
amended long-term plan.”). The CMC portion of the New Interim Bed Plan does not discuss
the status of the May Revise requests for funding to the legislature. Kahn Dec. { 15 and Ex. E.
In these requests, defendants.sought additional clinical staffing as well as plant modifications
to the existing CMC unit in order to accommodate the 42 MHCB patients. Jd. Defendants’
New Interim Bed Plan does not address the status of these requests for more resources and
funding. At the moment, the CMC unit is not operating in any way, shape or form as an
MHCB Unit and should not be counted as such. To date, what steps have defendants actually
taken to change this unit from EOP beds to MHCB beds? Have they added any clinical or
custody staff to date? This Court must not permit itself to be used to evade critical state health
and safety regulations without detailed representations as to what standards are being waived,
why they are being waived, and what steps are being taken to mitigate the danger to the

patients created by such waivers.
3. The CIM Plan Does Not Add New MHCB Beds Beyond The GACH
Beds Already Being Used For MHCB Cases

The 16 additional MHCB beds identified in the Interim Plan at CIM are medical beds
that are already being used as MHCB beds. Kahn Dec. Ex. A at 13. Thus, the CIM portion of
the New Interim Bed Plan will not increase the number of available MHCB beds.
Unfortunately, it also fails to address staffing inadequacies which impact on the clinical care
provided to psychiatric patients housed in the medical beds. Kahn Dec. § 12. Simply calling a
medical bed an MHCB bed without providing the necessary additional clinical staff does not

magically convert it into a crisis bed. After the recent Coleman monitoring tour at CIM, the

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monitors reported that CIM was housing at least thirty MHCB patients in the GACH and was
not adequately staffed to provide MHCB level of care to that many patients. Kahn Dec. 12.

Defendants’ Interim Plan for CIM offers two poor alternatives: defendants propose
either suspending state licensing requirements and immediately designating 18 GACH beds as
16 MHCBs (provided the Plata receiver approves of the plan) or undertaking facility
modifications for the 16 beds in the GACH, which may take a year if no complications arise.
Defendants fail to identify the statutory, licensing or staffing requirements they seek to suspend
if they chose to immediately designate medical beds as MHCB beds, as required by the Court’s
order. 5/2/06 Order 4.

Defendants must be directed to identify the statutory, licensing or staffing requirements
that they seek to immediately suspend and provide a timetable for coming into compliance
with those requirements. Furthermore, defendants must confirm that the Plata receiver has
approved the plan to take 18 medical beds for use as 16 MHCB beds. At this point, the plan
for the CIM MHCB beds appears both preliminary and without direction. Once again,
defendants are seeking Court approval for a waiver of state standards without a sufficient
showing or explanation.

C. Defendants Have Not Adequately Explored Other Options To Expand

MHCEB Beds

Defendants must consider other options to increase the availability of MHCB beds
within the CDCR. First, and foremost, defendants must address the ongoing use of MHCB
beds to house long-term care medical patients who can be moved to community hospitals or
nursing homes. This option should free up a considerable number of MHCB beds currently
occupied for long periods of time by long-term care patients.

Second, defendants must aggressively address the obstacles to staffing and licensing and
accelerating the opening of pending and delayed projects, such as CIW, KVSP, SAC, CMF,
SQ, ISP, CMC and others. At California Institute for Women (CIW), defendants’ plan to open
anew MHCB in August 2006, after years of delay. During a Coleman monitoring tour at CTW

on April 27 and 28, 2006, the monitors discovered that no clinical staffing had ever been

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PLAINTIFFS’ OBJECTIONS TO DEFENDANTS?’ JUNE 15, 2006 REVISED INTERIM BED PLAN, NO.: CIV S 90-0520 LKK-JFM

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submitted for the new MHCB. Kahn Dec. § 11. The 10 new MHCB beds will replace the
OHU beds at the prison, which are described as inadequately staffed and unsafe for mental
health patients. Id.

The New Interim Bed Plan explicitly rests on the assumption that all existing MHCB
beds and additional beds in the Plan will be used as MHCBs. J/d., Ex. A at Fn 1. Enclosure
VIII to defendants’ April 17, 2006 Bed Plan lists 10 CTW MHCB beds that will be licensed for
use by August 15, 2006. Kahn Dec. Ex. C. During the CIW phone exit, Special Master
Keating requested additional information regarding the status of any supplemental staffing
requests submitted after it was reported that no clinical staffing had been requested for the
CIW MHCB beds. Jd. at $11. No additional information has been provided to plaintiffs’
counsel and the May 2006/2007 Revise documents do not appear to address clinical staffing
for these beds. Jd. Defendants should be ordered immediately to provide information
regarding the status of clinical staffing for the CIW MHCB beds.

Despite this Court’s May 2, 2006 order to open the KVSP and SAC MHCB beds by
June 30, 2006, defendants have been unable to do so. Rather than get the job done, defendants
are seeking yet another waiver of licensing standards. Kahn Dec. ¢ 19 (discussing defendants’
June 26, 2006 request to Special Master Keating for waivers of licensing standards at K VSP).
Other pending MHCB projects remain stalled—if resources and energy were devoted to get
these projects on line, true “new beds” would be added to the benefit of all prisoners in the
system.

Third, defendants should consider contracting with DMH for additional beds at ASH or
Coalinga that can be utilized as MHCB beds, assuming that the Court or the CDCR can resolve
the problems with access to ASH beds. Both ASH and Coalinga State Hospital have additional
space where CDCR patients could be housed and stabilized.

Finally, the CDCR must address the over-crowding within the system, which is
negatively impacting all services, including medical and mental health services. Kahn Dec.
Ex. F. This overcrowding results in lockdowns, insufficient housing, cancelled programming

(including yard, education and vocational training), and custody shortages that have severe

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consequences for mental health services. All of this leads inevitably to a greater number of
crisis bed referrals within the system and an escalating suicide rate. Kahn Dec. ¢ 16. Unless
there is pressure on the Governor to re-evaluate policies that have increased the numbers of
parolees returning to prison and have lengthened prison terms, the need for additional MHCBs

will continue to grow.
Il. DEFENDANTS’ PLANNED EXPANSION OF ICF RESOURCES STILL

LEAVES A GAP OF 140 ICF BEDS UNTIL 2009 AND MUST NOT COME AT

THE EXPENSE OF SCARCE EOP BEDS

Defendants’ New Interim Bed Plan is much more promising with regards to ICF beds.
Defendants’ New Interim Bed Plan will create 70 short-term Level IV ICF beds beyond the
expansions previously ordered by the Court, including 30 new beds at CMF in the P-3 wing
and 40 accelerated beds in the D-5 and D-6 wings at SVSP (20 additional beds in each wing
beyond the 36 already ordered by the Court). See 5/2/06 Order at J] 6, 7, 8. The defendants
should be commended for rapidly putting together a plan to accomplish these expansions, and
for coming up with a plan to rapidly resolve the air conditioning problem at CMF. Compare,
Kahn Dec. Ex. A (New Interim Bed Plan) at 18 (new air conditioning in P-wing at CMF to be
installed by September 14, 2006) with Ex. B at 33 (testimony of George Sifuentes at April 26,
2006 Hearing that it would take 16 to 20 weeks to manufacture and install air conditioning in
P-wing).

However, there are three serious problems with defendants’ plan. First, the expansion
plans at CMF come at the expense of 67 badly needed EOP beds there. Second, defendants
have failed to identify which state licensing standards are to be waived and how the health and
safety issues will be addressed or mitigated. Third, even after the expansion plans are
implemented, defendants’ own projections in their April 17, 2006 Bed Plan show that there
will be a gap of 140 Level IV ICF beds until mid-2009.

A. The CMF Plan Must Be Modified So That No EOP Beds Are Lost At CMF.

Defendants’ expansion in the number of Level IV ICF beds at CMF comes at the
expense of 67 badly needed EOP beds. See Kahn Dec. Ex. A (New Interim Bed Plan) at 15-
19. According to the spreadsheet attached to defendants’ April 17, 2006 Bed Plan projecting

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need for various categories of mental health beds for the next five years, there will be a gap in
EOP beds next year of 1083 beds. Kahn Dec. Ex. G (Closing the Gap Spreadsheet from April
17, 2006 Plan showing a shortfall of 1083 EOP beds in 2007-2008 even after significant EOP
expansions at MCSP and CSP-SAC). This shortage of EOP beds is extremely dangerous to
class members, and defendants’ new proposal will increase the shortage by more than six
percent (6%).

Defendants must not be permitted to expand their short-term ICF beds at the expense of
EOP beds. CMF has many similar units that are not used for mental health care. Defendants’
New Interim Bed Plan explains why defendants cannot pursue two different alternatives (one
involving P-1, which houses medical patients, and a second involving the loss of 38 EOP
administrative segregation beds at CMF). See Kahn Dec. Ex. A (New Interim Bed Plan) at 16-
17. However, the plan does not explain why the P-3 EOP administrative segregation unit
cannot be moved to a different wing that does not currently house EOP patients or CCCMS
patients or medical patients. Defendants should be ordered to explore moving the
administrative segregation overflow unit to another CMF housing unit, or, at the very least, to
explain why such a move would not be feasible.

In addition, defendants’ plan for addressing the shortage of EOP beds was rejected by
this Court as inadequate in the May 2, 2006 Order. 5/2/06 Order, § 2. Defendants’ New
Interim Bed Plan fails to address this shortage — presumably it will be addressed in the long-
term bed plan to be filed by defendants on June 30, 2006. 5/2/06 Order, § 1.

B. Defendants Do Not Identify The Specific Licensing Waivers They Are

Seeking From The Court

Defendants’ New Interim Bed Plan must be rejected because it does not adequately
address the specific licensing, staffing and statutory barriers to their plans. The Court
previously ordered defendants to submit a specific list of licensing, staffing and statutory
barriers that they were asking the Court to waive. 5/2/06 Order at | 4 (“Defendants shall
include with said interim plan, as appropriate, a list of any statutory, licensing, or staffing

barriers to implementation of any aspect of said plan.”) Defendants have not done so.

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Defendants’ strategy appears to be to seek unspecified general waivers of State Law from the
Court, or to ignore the issue altogether. See, e.g., Kahn Dec. Ex. A (New Interim Plan) at 12
(no discussion of CMC waivers sought), 14 (request for general suspension of state licensing
requirements in connection with CIM project, but no discussion of specific licensing
provisions or explanation of why the relevant provisions cannot be met), 20 (no discussion of
licensing waivers, staffing or statutory issues in connection with SVSP ICF expansion plan).

It is essential that the Court only allow waivers of State licensing provisions when
defendants have provided a detailed, well-documented request concerning each specific
licensing, staffing or regulatory “barrier” to implementation that defendants seek to have
waived. See 5/2/06 Order at 4. Even then, the Court should require defendants (1) to attempt
to resolve the issue first with DHS by negotiating a waiver or some alternative method of
compliance, (2) to develop a plan to bring the facility into compliance with those licensing
provisions as soon as possible, and (3) to provide alternative methods of ensuring patient
safety. For example, as this Court is well aware, in connection with the P-2 ICF expansion at
CMF, defendants initially argued that they could not keep the CMF unit open this summer
because licensing requirements are such that P-2 must be air conditioned during the summer
months at CMF. After discussions between the parties, the Court and the Special Master, it
was decided that defendants could use some version of the heat plan currently used by CMF’s
mainline CDCR mental health units to ensure patient safety in the P-2 Unit this summer. Kahn
Dec. Ex. A (New Interim Bed Plan) at 21-22 (addressing heat issues at CMF). In addition,
defendants now expect to be able to secure air conditioning for the unit by September 14, 2006.
Id. at 18. This is a perfect example of how the Court’s intervention can assist defendants in
addressing a licensing issue — but this kind of approach requires that defendants address each
specific barrier to licensing and attempt to remedy the underlying issue in some alternative

fashion.

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C. Defendants’ New Interim Bed Plan Does Not Eliminate The Shortage Of
ICF Beds

Defendants’ New Interim Bed Plan, together with the new ICF beds ordered by the
Court on May 2, 2006, will result in the creation of 142 new Level IV ICF beds at CMF and
SVSP between now and mid-2007. Unfortunately, according to the projections provided by
defendants in connection with the April 17, 2006 Bed Plan, before the New Interim Bed Plan,
there would have been a shortfall of 285 Level IV ICF beds in Fiscal Year 2007-2008. Kahn
Dec. 7 18 and Ex. G. With the new beds, that shortfall will be reduced to 143 beds, but that is
still a significant shortfall. Defendants should be ordered to develop a plan that eliminates all
of the unmet need for Level IV intermediate inpatient care beds.

CONCLUSION

For all of the reasons set forth above, this Court should order defendants to implement
the bed expansions set forth in the New Interim Bed Plan, but to address the significant
shortcomings and gaps in the plan. Specifically, the Court should order as follows:

1. Defendants are ordered to implement the 30-bed P-3 intermediate care facility
expansion at CMF before June 30, 2007 as provided in their June 15, 2006 Plan. Defendants
are also ordered to implement the 40 Bed D-5 and D-6 Intermediate Care Facility expansion
before the December 31, 2006 deadline also set forth in the June 15, 2006 Plan.

2. Defendants are ordered to provide the Court with a new Plan to address the
additional 140-bed gap in interim ICF beds. (Defendants’ own figures indicate that such a gap
will continue to exist even after all of the bed expansions in the June 15, 2006 Interim Bed
Plan are implemented.)

3. Defendants are ordered to develop and implement their plan to build a new 50-
bed MHCB program at CMC. Defendants are ordered to provide a schedule to the Court in the
next 60 days to the Court for construction, licensing and staffing of the new CMC facility. In
addition, defendants shall provide a list of each specific licensing and staffing requirement that
they are asking the Court to order waived in the interim period before this new facility is built

in order to permit them to operate the existing CMC LOU as a 42-bed MHCB unit. The list

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provided by defendants shall include a reasonable timetable for coming into compliance with
the licensing provisions that defendants will be able to meet over time, a list of those
provisions can be met through alternative methods of compliance, and a list of those provisions
which defendants believe must be waived by the Court’s order. Defendants plan shall also
explain whether they have obtained the clinical staffing augmentations deemed necessary in
their May 12, 2006 Finance Letter to safely operate the LOU as an MHCB unit. Defendants
shall fully staff the CMC MHCB Unit immediately.

4, Defendants are ordered to develop and file with this Court and the Plata Court,
by July 15, 2006, a plan for removing long-term medical care patients from MHCB beds and
CTC beds that can be used as MHCB beds. In developing the Plan, defendants shall consider
moving such patients to community facilities or to skilled nursing facilities. The plan shall
include a detailed survey of the CDCR’s existing MHCB and CTC beds and shall indicate how
many MHCB beds and CTC beds at each facility are occupied by long-term care medical
patients or are otherwise unavailable for use as MHCB beds.

5. Defendants are ordered to file within 30 days a revised plan for opening the new
30 Bed P-3 ICF Unit at CMF which does not require the loss of 67 EOP Beds on M-3 wing at
CMF. If other non-mental health units are not available in which to re-locate the EOP
administrative segregation population from P-3, defendants must address this additional 67-bed
shortage in their interim and long-term plans for addressing the ever expanding EOP bed
shortage.

6. The portion of defendants’ plan which involves moving 25 CMF Acute
Psychiatric Program beds to Atascadero State Hospital in exchange for 25 MHCB beds is
rejected. Instead, defendants and the Department of Mental Health are hereby ordered, within
30-days, to develop a plan to assure that at least 22 of the 25 beds at ASH’s MHCB Unit are
used by CDCR patients in need of MHCB care at all times. The plan shall consider such
options as direct control of admissions to the unit by CDCR clinicians.

7. Defendants and DMH shall report to the Court concerning the availability of
additional short term MHCB beds at ASH or CSH or other DMH facilities within 30 days.

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8. Defendants shall henceforth seek the permission of the Plata receiver to move
forward with their plans to house MHCB patients in the 18 General Acute Care Hospital
(GACH) beds at the California Institution for Men (CIM). Defendants shall report back to the
Court concerning this issue within 30 days, and shall provide the Court with a specific list of
the statutory, licensing, and/or statutory barriers to conversion of the CIM GACH unit into an
MHCB unit that they are asking the Court to waive. The Special Master is directed to consult
with the Plata receiver concerning this issue.

9. Defendants are ordered immediately to fund the clinical staff positions necessary
to open the new MHCB unit at the California Institute for Women on the schedule previously
provided by defendants. See Enclosure 8 to Defendants 4/17/06 Bed Plan (indicating a target
date for DHS licensing survey of August 15, 2006).

10. ‘If it is not submitted in connection with the revised long-term plan, defendants
shall submit a plan on or before July 15, 2006 to accelerate construction of the pending MHCB
projects at Ironwood State Prison, California Medical Facility, Kern Valley State Prison, CSP-
Sacramento, San Quentin, and California Men’s Colony.

The Order should also state that the Court has reviewed the records and files in this
case, the evidence presented in connection with this motion and the annual suicide reports of
the Special Master for 2004 and 2005, the hearings before this Court, and the evidence
presented in connection with the 15th Monitoring Report of the Special Master and the other
reports of the Special Master, and that the court finds that these orders are narrowly tailored,
and constitute the least intrusive means necessary to secure constitutional mental health care
and to reduce avoidable pain, suffering and suicides inside the CDCR. Plaintiffs have filed a
proposed form of order along with these objections.

Respectfully submitted,

Thomas Nolan
Rosen, Bien & Asaro
Attorneys for Plaintiffs

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PLAINTIFFS’ OBJECTIONS TO DEFENDANTS’ JUNE 15, 2006 REVISED INTERIM BED PLAN, NO.: CIV S 90-0520 LKK-JFM

